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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 SADIS & GOLDBERG, LLP,                               CIVIL ACTION NO. 2:19-CV-01682-AJS

                           Plaintiff,

           vs.

 AKSHIT A HANER.JEE AND SUM ANT A
 BANERJEE,

                           Defendants.



                              AFFIDAVIT OF KATEE. MCCARTHY

          I, KATEE. MCCARTHY, declare and state:

          1.       That I am over the age of eighteen ( 18) and am competent to testify to the matters
                   stated here;

          2.       That I make this Affidavit based upon personal knowledge;

          3.       That I am an Associate at Meyer, Unkovic & Scott LLP representing the law firm
                   of Sadis & Goldberg, LLP in the above-referenced case;

          4.       On December 31, 2019, Sadis & Goldberg filed a Complaint and Summons in the
                   United States District Court for the Western District of Pennsylvania against
                   Sumanta and Akshita Bane1jee;

          5.       On January 6, 2020, my Legal Assistant, Debra Stewart, contacted Allegheny
                   Process Services, LLC to effectuate service of the Complaint and Summons;

          6.       On January 10, 2020, my colleague Katelin Montgomery ("Attorney
                   Montgomery"), another Associate at Meyer, Unkovic & Scott, received the
                   attached email confirmation from Allegheny Process Servers, LLC indicating that
                   Akshita Bane1jee ("Mrs. Bane1jee") was personally served the Summons and
                   Complaint in this action-and accepted service on behalf of her husband Sumanta
                   Bane1jee ("Mr. Bane1jee")-at her residence of 1514 Cook School Road,
                   Pittsburgh, PA 15241 at 7:16 a.m. See email coffespondence from Anthony
                   DeMasi attached hereto as Exhibit A;
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v


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            7.      On January 14, ·2020, my firm filed Proofs of Service for both Mr. and Mrs.
                    Banerjee, executed by Anthony DeMasi of Allegheny Process Servers, LLC. Dkt.
                    Nos. 5-6. The executed Proofs of Service are attached hereto as Exhibits B and C.

            8.      On January 31 , 2020 at 1:00 pm, the day that the Bane1j ees' Answer to the
                    Complaint was due, Mrs. Bane1jee called the Meyer, Unk.ovic & Scott office and
                    left a voicemail for Attorney Montgomery regarding her receipt of the Complaint;

            9.      The voicemail message left by Mrs. Banerjee for Attorney Montgomery states as
                    follows: "Hi Miss Montgomery, my name is Akshita Banerjee. I'm calling about
                    action 19-1682. I'm wondering if you ' d give me a call. My number is 203-501-
                    0796." A copy of this voicemail message is available upon request;

            10.     Attorney Montgomery forwarded the voicemail to me, and I returned Mrs.
                    Banerjee' s call on the afternoon of January 31 , 2020. A copy of the email
                    forwarding me Mrs. Banerjee' s voicemail is attached hereto as Exhibit D;

            11.     During that phone call, Mrs. Banerjee confirmed that she received the Complaint
                    but informed me that her husband was out of the country and that they were not yet
                    represented by counsel. She further requested that we agree to an extension of time
                    for filing their Answer to the Complaint;

            12.     After consulting with Sadis & Goldberg, LLP, I called Mrs. Banerjee and agreed to
                    a thirty-day extension and informed her that my firm would file a stipulation with
                    the Court consenting to the extension;

            13.     That same day, Attorney Montgomery filed a Joint Stipulation for Extension of
                    Time, but the Court denied the Stipulation. See Dkt. Nos. 8 and 9;

            14.     I informed the Banerjees by letter and email dated February 3, 2020 of the Court' s
                    order and explained that, as a courtesy, we would not request entry of a default
                    judgment until February 13, 2020. Copies of the letter and the email are attached
                    hereto as Exhibits E and F;

            15.     Thereafter, on February 19, 2020, I sent Mr. and Mrs. Banerjee a copy of Plaintiff's
                    Request for Entry of Default via Federal Express, which was delivered to their
                    residence at 15 14 Cook School Road, Pittsburgh, PA 15241 on February 20, 2020
                    at 10:08 am. A copy of the Federal Express shipping confinnation is attached hereto
                    as Exhibit G.

    Nothing sayeth the Affiant further.
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Sworn and subscribed to before me
this -11..!±_ day of July, 2020.


                                    Commonwealth of Pennsylvania • Notary Seal
                                        Debra Ann Stewart, Notary Public
                                               Allegheny County
Notmy Public                        My commission expires September 7, 2023
                                         Commission number 1264537
                                    Member, Pennsylvania Astoclation of Notaries
